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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

       LOURDES M. TEODOSIO, AMBER          )
       BROCK, GAROON J. GIBBS-RACHO        )
       AND DAMON A. PARKS, SR.,            )              CIVIL ACTION NO.: 1:22-cv-00712
       individually and on behalf of all others
                                           )
       similarly situated,                 )
                                           )
                               Plaintiff,  )
                  v.                       )
                                           )
       DAVITA, INC., THE BOARD OF          )
       DIRECTORS OF DAVITA, INC., THE      )
       PLAN ADMINISTRATIVE COMMITTEE )
       OF DAVITA, INC. and JOHN DOES 1-    )
       30.                                 )
                                           )
                               Defendants.

                        FIRST AMENDED CLASS ACTION COMPLAINT

           Plaintiffs, Lourdes M. Teodosio, Amber Brock, Garoon J. Gibbs-Racho and DaMon A.

   Parks, Sr., (“Plaintiffs”), by and through their attorneys, on behalf of the DaVita Retirement

   Savings Plan (the “Plan”),1 themselves and all others similarly situated, state and allege as follows:

                                     I.      INTRODUCTION

           1.     This is a class action brought pursuant to §§ 409 and 502 of the Employee

   Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1109 and 1132, against the

   Plan’s fiduciaries, which include DaVita, Inc. (“DaVita” or “Company”), the Board of Directors




   1
     The Plan is a legal entity that can sue and be sued. ERISA § 502(d)(1), 29 U.S.C. § 1132(d)(1).
   However, in a breach of fiduciary duty action such as this, the Plan is not a party. Rather, pursuant
   to ERISA § 409, and the law interpreting it, the relief requested in this action is for the benefit of
   the Plan and its participants.
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   of DaVita, Inc. and its members during the Class Period (“Board”),2 and the Plan Administrative

   Committee of DaVita, Inc. and its members during the Class Period (“Committee”).

          2.      To safeguard Plan participants and beneficiaries, ERISA imposes strict fiduciary

   duties of loyalty and prudence upon employers and other plan fiduciaries. Fiduciaries must act

   “solely in the interest of the participants and beneficiaries,” 29 U.S.C. § 1104(a)(1)(A), with the

   “care, skill, prudence, and diligence” that would be expected in managing a plan of similar scope.

   29 U.S.C. § 1104(a)(1)(B).

          3.      The Tenth Circuit has recognized a fiduciary’s stringent duties under ERISA:

               A central and fundamental obligation imposed on fiduciaries by ERISA is
               contained in Part 4, Title 1, § 404(a) [which] … embody a carefully tailored
               law of trusts, including the familiar requirements of undivided loyalty to
               beneficiaries, the prudent man rule, the rule requiring diversification of
               investments and the requirement that fiduciaries comply with the provisions of
               plan documents to the extent that they are not inconsistent with the Act.

   Eaves v. Penn, 587 F.2d 453, 457 (10th Cir. 1978); see also In re Williams Cos. ERISA Litig.,

   271 F. Supp. 2d 1328, 1341(N.D. Okla. 2003) (noting ERISA’s fiduciary duties are the highest

   known to the law).

          4.      The Department of Labor has explicitly stated that employers are held to a “high

   standard of care and diligence” and must, among other duties, both “establish a prudent process

   for selecting investment options and service providers” and “monitor investment options and

   service providers once selected to see that they continue to be appropriate choices.” See, “A Look

   at 401(k) Plan Fees,” infra, at n.3; see also Tibble v. Edison Int’l, 135 S. Ct. 1823, 1823 (2015)

   (Tibble I) (reaffirming the ongoing fiduciary duty to monitor a plan’s investment options).




   2
     As will be discussed in more detail below, the Class Period is defined as March 23, 2016 through
   the date of judgment (“Class Period”).


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          5.      Under 29 U.S.C. § 1104(a)(1), a plan fiduciary must give substantial consideration

   to the cost of investment options. “Wasting beneficiaries’ money is imprudent. In devising and

   implementing strategies for the investment and management of trust assets, trustees are obligated

   to minimize costs.” Uniform Prudent Investor Act (the “UPIA”), § 7.

          6.      “The Restatement … instructs that ‘cost-conscious management is fundamental to

   prudence in the investment function,’ and should be applied ‘not only in making investments but

   also in monitoring and reviewing investments.’” Tibble v. Edison Int’l, 843 F.3d 1187, 1197-98

   (9th Cir. 2016) (en banc) (quoting Restatement (Third) of Trusts, § 90, cmt. b) (“Tibble II”).3

          7.      Additional fees of only 0.18% or 0.4% can have a large effect on a participant’s

   investment results over time because “[b]eneficiaries subject to higher fees … lose not only money

   spent on higher fees, but also lost investment opportunity; that is, the money that the portion of

   their investment spent on unnecessary fees would have earned over time.” Tibble II, 843 F.3d at

   1198 (“It is beyond dispute that the higher the fees charged to a beneficiary, the more the

   beneficiary’s investment shrinks.”).

          8.      The Supreme Court recently reiterated that interpreting “ERISA’s duty of prudence

   in light of the common law of trusts” a fiduciary “has a continuing duty of some kind to monitor

   investments and remove imprudent ones” and a plaintiff may allege that a fiduciary breached the

   duty of prudence by failing to properly monitor investments and remove imprudent ones. Hughes

   v. Northwestern Univ., 2022 WL 19935, at *3 (2022).




   3
     See also U.S. Dep’t of Labor, A Look at 401(k) Plan Fees, (Aug. 2013), at 2, available at
   https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-
   center/publications/a-look-at-401k-plan-fees.pdf (last visited February 21, 2020) (“You should be
   aware that your employer also has a specific obligation to consider the fees and expenses paid by
   your plan.”).


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          9.      Because cost-conscious management is fundamental to prudence in the investment

   function, the concept applies to a fiduciary’s obligation to continuously monitor all fees incurred

   by plan participants, including a plan’s recordkeeping and administration fees.

          10.     At all times during the Class Period, the Plan had at least $1.3 billion dollars in

   assets under management. At the Plan’s fiscal year end in 2020 and 2019, the Plan had over $2.6

   billion dollars and $2.2 billion dollars, respectively, in assets under management that were/are

   entrusted to the care of the Plan’s fiduciaries. The December 31, 2020 Report of Independent

   Auditor of the DaVita Retirement Savings Plan (“2020 Auditor Report”) at 4.

          11.     The Plan’s assets under management qualifies it as a jumbo plan in the defined

   contribution plan marketplace, and among the largest plans in the United States. As a jumbo plan,

   the Plan had substantial bargaining power regarding the fees and expenses that were charged

   against participants’ investments. Defendants, however, did not try to reduce the Plan’s expenses

   or exercise appropriate judgment to scrutinize each investment option that was offered in the Plan

   to ensure it was prudent.

          12.     The Plan is also large in terms of the number of its participants. From 2016 to 2020,

   the Plan had between 56,707 and 67,104 participants with account balances. For comparison,

   according to information derived from ERISApedia.com’s database, a service that compiles all

   Form 5500s filed with the Dept. of Labor (“DOL”) by retirement plans, in 2020, there were only

   176 defined contribution plans (401(k), 401(a), and 403(b)) in the country with over 50,000

   participants with account balances. Accordingly, the Plan had substantial bargaining power to

   negotiate favorable recordkeeping and administration fees.

          13.     Plaintiffs allege that during the putative Class Period, Defendants, as “fiduciaries”

   of the Plan, as that term is defined under ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), breached




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   the duties they owed to the Plan, to Plaintiffs, and to the other participants of the Plan by, inter

   alia, (1) failing to objectively and adequately review the Plan’s investment portfolio with due care

   to ensure that each investment option was prudent, in terms of cost; and (2) failing to control the

   Plan’s recordkeeping and administration costs.

          14.      Defendants’ mismanagement of the Plan, to the detriment of participants and

   beneficiaries, constitutes a breach of the fiduciary duty of prudence, in violation of 29 U.S.C. §

   1104. Their actions were contrary to actions of a reasonable fiduciary and cost the Plan and its

   participants millions of dollars.

          15.     Based on this conduct, Plaintiffs assert claims against Defendants for breach of the

   fiduciary duty of prudence (Count One) and failure to monitor fiduciaries (Count Two).

                                   IV. JURISDICTION AND VENUE
          16.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

   § 1331 because it is a civil action arising under the laws of the United States, and pursuant to 29

   U.S.C. § 1332(e)(1), which provides for federal jurisdiction of actions brought under Title I of

   ERISA, 29 U.S.C. § 1001, et seq.

          17.     This Court has personal jurisdiction over Defendants because they transact business

   in this District, reside in this District, and/or have significant contacts with this District, and

   because ERISA provides for nationwide service of process.

          18.     Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

   § 1132(e)(2), because some or all of the violations of ERISA occurred in this District and

   Defendants reside and may be found in this District. Venue is also proper in this District pursuant

   to 28 U.S.C. § 1391 because Defendants do business in this District and a substantial part of the

   events or omissions giving rise to the claims asserted herein occurred within this District.




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                                             V. PARTIES

                Plaintiffs

          19.      Plaintiff, Lourdes M. Teodosio (“Teodosio”), resides in Union City, California.

   During her employment, Plaintiff Teodosio participated in the Plan investing in the options offered

   by the Plan and was subject to the excessive total plan costs and administration and recordkeeping

   costs (“RKA”) which were charged as a fee against all investments in the Plan, as discussed below.

   Specifically, Plaintiff Teodosio invested in the SmartRetirement 2035 fund which, throughout the

   Class Period, was subject to an asset-based fee used to pay the excessive RKA and total plan costs,

   as discussed below. Plaintiff Teodosio suffered injury to her Plan account by overpaying for her

   share of RKA costs. In addition, Plaintiff Teodosio suffered injury to her Plan account by paying

   her share of the fees used to maintain and manage the funds specifically identified below which

   have excessive expense ratios and which include, but are not limited to, those funds not specifically

   identified but which are used to pay for the excessive total plan costs. These funds were maintained

   and monitored with the assistance of Voya Retirement Advisors, LLC and AON who received

   $2,566,438 and $88,019, respectively, during 2020, the cost of which was paid for by each

   participant in the Plan using asset-based charges borne by all participants in the Plan.

          20.      Plaintiff, Amber Brock (“Brock”), resides in Arcadia, Florida. During her

   employment, Plaintiff Brock participated in the Plan investing in the options offered by the Plan

   and was subject to the excessive total plan costs and RKA costs which were charged as a fee

   against all investments in the Plan, as discussed below. Specifically, Plaintiff Brock invested in

   the SmartRetirement 2050 fund which, throughout the Class Period, was subject to an asset-based

   fee used to pay the excessive RKA and total plan costs, as discussed below. Plaintiff Brock suffered

   injury to her Plan account by overpaying for her share of RKA costs. In addition, Plaintiff Brock




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   suffered injury to her Plan account by paying her share of the fees used to maintain and manage

   the funds specifically identified below which have excessive expense ratios and which include,

   but are not limited to, those funds not specifically identified but which are used to pay for the

   excessive total plan costs. These funds were maintained and monitored with the assistance of Voya

   Retirement Advisors, LLC and AON who received $2,566,438 and $88,019, respectively, during

   2020, the cost of which was paid for by each participant in the Plan using asset-based charges born

   by all participants in the Plan.

           21.     Plaintiff, Garoon J. Gibbs-Racho (“Gibbs-Racho”), resides in Los Angeles,

   California. During his employment, Plaintiff Gibbs-Racho participated in the Plan investing in the

   options offered by the Plan and was subject to the excessive total RKA costs which were charged

   as a fee against all investments in the Plan, as discussed below. Specifically, Plaintiff Gibbs-Racho

   invested in the SmartRetirement 2055 fund which, throughout the Class Period, was subject to an

   asset-based fee used to pay the excessive RKA and total plan costs, as discussed below. Plaintiff

   Gibbs-Racho suffered injury to his Plan account by overpaying for his share of RKA costs. In

   addition, Plaintiff Gibbs-Racho suffered injury to his Plan account by paying her share of the fees

   used to maintain and manage the funds specifically identified below which have excessive expense

   ratios and which include, but are not limited to, those funds not specifically identified but which

   are used to pay for the excessive total plan costs. These funds were maintained and monitored with

   the assistance of Voya Retirement Advisors, LLC and AON who received $2,566,438 and

   $88,019, respectively, during 2020, the cost of which was paid for by each participant in the Plan

   using asset-based charges born by all participants in the Plan.

           22.     Plaintiff, DaMon A. Parks, Sr. (“Parks”), resides in Florissant, Missouri. During his

   employment, Plaintiff Parks participated in the Plan investing in the options offered by the Plan




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   and was subject to the excessive total RKA costs which were charged as a fee against all

   investments in the Plan, as discussed below. Specifically, Plaintiff Parks invested in the

   SmartRetirement 2035 fund which, throughout the Class Period, was subject to an asset-based fee

   used to pay the excessive RKA and total plan costs, as discussed below. Plaintiff Parks suffered

   injury to his Plan account by overpaying for his share of RKA costs. In addition, Plaintiff Parks

   suffered injury to his Plan account by paying his share of the fees used to maintain and manage

   the funds specifically identified below which have excessive expense ratios and which include,

   but are not limited to, those funds not specifically identified but which are used to pay for the

   excessive total plan costs. These funds were maintained and monitored with the assistance of Voya

   Retirement Advisors, LLC and AON who received $2,566,438 and $88,019, respectively, during

   2020, the cost of which was paid for by each participant in the Plan using asset-based charges born

   by all participants in the Plan.

           23.     Plaintiffs have standing to bring this action on behalf of the Plan because they

   participated in the Plan and were injured by Defendants’ unlawful conduct. From at least 2015,

   preceding the start of the Class Period, to at least 2020, there was an unreasonably high revenue

   requirement to pay for RKA costs that was tacked onto the Plan’s funds in the form of an increased

   expense ratio. This increased ratio ranged from 11 basis points in 2020 to 14 basis points in 2018,

   for example. Each of the Plaintiffs were invested in funds that had this tacked-on expense ratio

   that was unreasonably high. In addition, Plaintiffs have standing because they suffered damage to

   their plan accounts by having to pay their share of the consulting fee charged by Voya Advisors to

   maintain and manage the funds specifically identified below which have excessive expense ratios

   and which include, but are not limited to, those funds not specifically identified but which are used

   to pay for the excessive total plan costs. Plaintiffs are entitled to receive benefits in the amount of




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   the difference between the value of their accounts currently, or as of the time their accounts were

   distributed, and what their accounts are or would have been worth, but for Defendants’ breaches

   of fiduciary duty as described herein, which is mainly allowing for unreasonably high RKA costs

   to be charged to Plan participants.

           24.     In addition, Plaintiffs suffered injury to their Plan accounts by paying their share of

   the fees used to maintain the funds identified below which have excessive expense ratios. These

   funds were maintained and monitored with the assistance of Voya Retirement Advisors, LLC and

   AON who received $2,566,438 and $88,019, respectively, during 2020, the cost of which was paid

   for by each participant in the Plan using asset-based charges born by all participants in the Plan.

           25.     Plaintiffs did not have knowledge of all material facts (including, among other

   things, total plan recordkeeping and administration cost comparisons to similarly-sized plans or

   information regarding other available funds) necessary to understand that Defendants breached

   their fiduciary duties and engaged in other unlawful conduct in violation of ERISA until shortly

   before this suit was filed.

           Defendants

                 Company Defendant

           26.     DaVita is the Plan sponsor and a named fiduciary with a principal place of business

   being 2000 16th Street, Denver, Colorado. The December 31, 2020 Form 5500 of the DaVita

   Retirement Savings Plan filed with the United States Department of Labor (“2020 Form 5500”) at

   1. DaVita describes itself as a “leading healthcare provider focused on transforming care delivery

   to improve quality of life for patients globally. We are one of the largest providers of kidney care

   services in the U.S. and have been a leader in clinical quality and innovation for over 20 years.”




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   The December 31, 2021 Form 10-K Filed with the United States Securities and Exchange

   Commission (“Form 10-K”) at 2.

          27.     DaVita appointed the Committee to, among other things, ensure that the

   investments available to Plan participants are appropriate, had no more expense than reasonable

   and performed well as compared to their peers and that the Plan paid a fair price for recordkeeping

   and administrative services. DaVita Inc., Investment Policy Statement and Guidelines Effective as

   of December 11, 2019 (“IPS”) at 5-6. As will be discussed below, the Committee fell well short

   of these fiduciary goals. Under ERISA, fiduciaries with the power to appoint have the concomitant

   fiduciary duty to monitor and supervise their appointees.

          28.     Accordingly, DaVita during the putative Class Period is/was a fiduciary of the Plan,

   within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A) because it had a duty to

   monitor the actions of the Committee.

          29.     For the foregoing reasons, the Company is a fiduciary of the Plan, within the

   meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A).

          Board Defendants

          30.      DaVita, acting through its Board of Directors, appointed the Committee to, among

   other things, ensure that the investments available to Plan participants are appropriate, had no more

   expense than reasonable and performed well as compared to their peers and that the Plan paid a

   fair price for recordkeeping and administrative services. IPS at 5-6. Under ERISA, fiduciaries with

   the power to appoint have the concomitant fiduciary duty to monitor and supervise their

   appointees.

          31.     Accordingly, each member of the Board during the putative Class Period (referred

   to herein as John Does 1-10) is/was a fiduciary of the Plan, within the meaning of ERISA Section




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   3(21)(A), 29 U.S.C. § 1002(21)(A) because each had a duty to monitor the actions of the

   Committee.

          32.     The Board and the unnamed members of the Board during the Class Period

   (referred to herein as John Does 1-10), are collectively referred to herein as the “Board

   Defendants.”

          Committee Defendants

          33.     As discussed above, DaVita appointed the Committee to, among other things,

   ensure that the investments available to Plan participants are appropriate, had no more expense

   than reasonable and performed well as compared to their peers and that the Plan paid a fair price

   for recordkeeping and administrative services. IPS at 5-6

          34.     As stated in more detail in the IPS, the Committee “at least annually … will

   consider the investment and administrative fees associated with the Plans’ investment options.”

   IPS at 2. Further, the Committee is responsible for “periodically evaluating the Plans’ investment

   performance and recommending investment option changes as needed.” IPS at 5. The Committee

   is also responsible for “[p]eriodically evaluating the overall performance of the providers and

   consultants in regard to their relationship with the Company.” IPS at 6. As will be discussed below,

   the Committee fell well short of these goals as a fiduciary to plan participants.

          35.     The Committee and each of its members were fiduciaries of the Plan during the

   Class Period, within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A) because

   each exercised discretionary authority over management or disposition of Plan assets.

          36.     The Committee and unnamed members of the Committee during the Class Period

   (referred to herein as John Does 11-20), are collectively referred to herein as the “Committee

   Defendants.”




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          Additional John Doe Defendants

          37.     To the extent that there are additional officers, employees and/or contractors of

   DaVita who are/were fiduciaries of the Plan during the Class Period, or were hired as an investment

   manager for the Plan during the Class Period, the identities of whom are currently unknown to

   Plaintiffs, Plaintiffs reserve the right, once their identities are ascertained, to seek leave to join

   them to the instant action. Thus, without limitation, unknown “John Doe” Defendants 21-30

   include, but are not limited to, DaVita officers, employees and/or contractors who are/were

   fiduciaries of the Plan within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A)

   during the Class Period.

                                  VI. CLASS ACTION ALLEGATIONS

          38.     Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal Rules

   of Civil Procedure on behalf of themselves and the following proposed class (“Class”):4

                  All persons, except Defendants and their immediate family
                  members, who were participants in or beneficiaries of the
                  Plan, at any time between March 23, 2016 through the date
                  of judgment (the “Class Period”).

          39.     The members of the Class are so numerous that joinder of all members is

   impractical. The 2020 Form 5500 lists 67,104 Plan “participants with account balances as of the

   end of the plan year.” 2020 Form 5500 at 2.

          40.     Plaintiffs’ claims are typical of the claims of the members of the Class. Like other

   Class members, Plaintiffs participated in the Plan and have suffered injuries as a result of

   Defendants’ mismanagement of the Plan. Defendants treated Plaintiffs consistently with other

   Class members and managed the Plan as a single entity. Plaintiffs’ claims and the claims of all


   4
     Plaintiffs reserve the right to propose other or additional classes or subclasses in their motion for
   class certification or subsequent pleadings in this action.


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   Class members arise out of the same conduct, policies, and practices of Defendants as alleged

   herein, and all members of the Class have been similarly affected by Defendants’ wrongful

   conduct.

           41.     There are questions of law and fact common to the Class, and these questions

   predominate over questions affecting only individual Class members. Common legal and factual

   questions include, but are not limited to:

                   A.     Whether Defendants are/were fiduciaries of the Plan;

                   B.     Whether Defendants breached their fiduciary duty of prudence by

                          engaging in the conduct described herein;

                   C.     Whether the Company and Partnership Defendants failed to adequately

                          monitor the Committee and other fiduciaries to ensure the Plan was being

                          managed in compliance with ERISA;

                   D.     The proper form of equitable and injunctive relief; and

                   E.     The proper measure of monetary relief.

           42.     Plaintiffs will fairly and adequately represent the Class and have retained counsel

   experienced and competent in the prosecution of ERISA class action litigation. Plaintiffs have no

   interests antagonistic to those of other members of the Class. Plaintiffs are committed to the

   vigorous prosecution of this action and anticipate no difficulty in the management of this litigation

   as a class action.

           43.     This action may be properly certified under Rule 23(b)(1). Class action status in

   this action is warranted under Rule 23(b)(1)(A) because prosecution of separate actions by the

   members of the Class would create a risk of establishing incompatible standards of conduct for

   Defendants. Class action status is also warranted under Rule 23(b)(1)(B) because prosecution of




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   separate actions by the members of the Class would create a risk of adjudications with respect to

   individual members of the Class that, as a practical matter, would be dispositive of the interests of

   other members not parties to this action, or that would substantially impair or impede their ability

   to protect their interests.

           44.     In the alternative, certification under Rule 23(b)(2) is warranted because the

   Defendants have acted or refused to act on grounds generally applicable to the Class, thereby

   making appropriate final injunctive, declaratory, or other appropriate equitable relief with respect

   to the Class as a whole.

                                           VII.    THE PLAN

           45.     The Plan is a defined contribution plan covering substantially all eligible employees

   of DaVita. 2020 Auditor Report at 5. More specifically, the Plan is a “defined contribution” or

   “individual account” plan within the meaning of ERISA § 3(34), 29 U.S.C. § 1002(34), in that the

   Plan provides for individual accounts for each participant and for benefits based solely upon the

   amount contributed to those accounts, and any income, expense, gains and losses, and any

   forfeitures of accounts of the participants which may be allocated to such participant’s account.

   Id. Consequently, retirement benefits provided by the Plan are based solely on the amounts

   allocated to each individual’s account. Id.

           Eligibility

           46.     In general, the Plan covers all employees of DaVita who are age 18 or older. Id.

           Contributions

           47.     There are several types of contributions that can be added to a participant’s account,

   including: an employee salary deferral contribution, an employee Roth 401(k) contribution, an

   employee after-tax contribution, catch-up contributions for employees aged 50 and over, rollover




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   contributions, discretionary profit-sharing contributions and employer matching contributions

   based on employee pre-tax, Roth 401(k), and employee after-tax contributions. 2020 Auditor

   Report at 5.

          48.     With regard to employee contributions, participants can elect to make annual pre-

   tax and Roth contributions subject to Internal Revenue Service (‘IRS’) limitations. Id. With regard

   to matching contributions made by DaVita, DaVita does provide a contribution of a portion of

   eligible compensation. 2020 Auditor Report at 6. As detailed in the 2020 Auditor Report, DaVita

   has “elected to make a discretionary matching contribution to the Plan for each eligible Participant

   in an amount equal to 50% of the Participant’s contributions, up to 6% of Compensation each pay

   period.” Id.

          49.     Like other companies that sponsor 401(k) plans for their employees, DaVita enjoys

   both direct and indirect benefits by providing matching contributions to Plan participants.

   Employers are generally permitted to take tax deductions for their contributions to 401(k) plans at

   the time when the contributions are made. See generally, https:/www.irs.gov/retirement-

   plans/plan-sponsor/401k-plan-overview.

          50.     DaVita also benefits in other ways from the Plan’s matching program. It is well-

   known that “[o]ffering retirement plans can help in employers’ efforts to attract new employees

   and reduce turnover.” See, https://www.paychex.com/articles/employee-benefits/employer-

   matching-401k-benefits.

          51.     Given the size of the Plan, DaVita likely enjoyed a significant tax and cost savings

   from offering a match.




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           Vesting

           52.      With regard to contributions made by participants to the Plan, such contributions

   vest immediately. 2020 Auditor Report at 6. Generally, contributions made by DaVita are subject

   to a four-year vesting schedule. Id.

           The Plan’s Investments

           53.      In theory, the Committee determines the appropriateness of the Plan’s investment

   offerings, monitors investment performance, reviews total plan and fund costs each year and

   reviews the appropriateness of recordkeeping and administrative charges. IPS at 5-6. As will be

   discussed in more detail below, the Committee fell well short of these fiduciary goals.

           54.      Several funds were available to Plan participants for investment each year during

   the putative Class Period. Specifically, a participant may direct all contributions to selected

   investments as made available and determined by the Committee.

           55.      The Plan’s assets under management for all funds as of December 31, 2020 was

   $2,684,769,000. 2020 Auditor Report at 4.

           Payment of Plan Expenses

           56.      During the Class Period, administrative and recordkeeping expenses were generally

   paid using a combination of charges to the participants and Plan assets. 2020 Auditor Report at 9.

     VIII. THE PLAN’S FEES DURING THE CLASS PERIOD WERE UNREASONABLE

                 A. The Totality of the Circumstances Demonstrates that the Plan Fiduciaries
                    Failed to Administer the Plan in a Prudent Manner

           57.      As described in the “Parties” section above, Defendants were/are fiduciaries of the

   Plan.

           58.      ERISA “imposes a ‘prudent person’ standard by which to measure fiduciaries’

   investment decisions and disposition of assets.” Fifth Third Bancorp v. Dudenhoeffer, 134 S. Ct.



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   2459, 2467 (2014) (quotation omitted). In addition to a duty to select prudent investments, under

   ERISA, a fiduciary “has a continuing duty to monitor [plan] investments and remove imprudent

   ones” that exist “separate and apart from the [fiduciary’s] duty to exercise prudence in selecting

   investments.” Tibble I, 135 S. Ct. at 1828; see also Hughes, 2022 WL 19935, at *3.

          59.     Plaintiffs did not have and do not have actual knowledge of the specifics of

   Defendants’ decision-making process with respect to the Plan, including Defendants’ processes

   (and execution of such) for selecting, monitoring, and removing Plan investments or monitoring

   recordkeeping and administration costs, because this information is solely within the possession

   of Defendants prior to discovery. See, Braden v. Wal-mart Stores, Inc., 588 F.3d 585, 598 (8th

   Cir. 2009) (“If Plaintiffs cannot state a claim without pleading facts which tend systematically to

   be in the sole possession of defendants, the remedial scheme of [ERISA] will fail, and the crucial

   rights secured by ERISA will suffer.”)

          60.     Although Plaintiffs have been provided certain documentation related to the Plan’s

   fees ahead of the instance complaint, Plaintiffs still do not have access to details of the Plan’s

   mismanagement. On December 10, 2020, Plaintiffs wrote to DaVita requesting, inter alia, meeting

   minutes from the Committee. By correspondence dated February 3, 2021, DaVita refused to

   provide any minutes in response to Plaintiffs’ request.

          61.     Reviewing meeting minutes, when they exist, is the bare minimum needed to peek

   into a fiduciary’s monitoring process. But in most cases even that is not sufficient. For, “[w]hile

   the absence of a deliberative process may be enough to demonstrate imprudence, the presence of

   a deliberative process does not … suffice in every case to demonstrate prudence. Deliberative

   processes can vary in quality or can be followed in bad faith. In assessing whether a fiduciary

   fulfilled her duty of prudence, we ask ‘whether a fiduciary employed the appropriate methods to




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   investigate and determine the merits of a particular investment,’ not merely whether there were

   any methods whatsoever.” Sacerdote et al. v. New York Univ., 9 F.4th 95, 111 (2d Cir. 2021)

   (emphasis in original).

          62.     For purposes of this Complaint, Plaintiffs have drawn reasonable inferences

   regarding these processes based upon several factors.

          63.     For example, Defendants did not adhere to fiduciary best practices to control Plan

   costs when looking at certain aspects of the Plan’s administration such as monitoring investment

   management fees for the Plan’s investments, resulting in several funds during the Class Period

   being more expensive than comparable funds found in similarly sized plans (conservatively, plans

   having over 1 billion dollars in assets).

          64.     With regard to investments like mutual funds, like any other investor, retirement

   plan participants pay for these costs via the fund’s expense ratio evidenced by a percentage of

   assets. For example, an expense ratio of .75% means that the plan participant will pay $7.50

   annually for every $1,000 in assets. However, the expense ratio also reduces the participant’s

   return and the compounding effect of that return. This is why it is prudent for a plan fiduciary to

   consider the effect that expense ratios have on investment returns because it is in the best interest

   of participants to do so.

          65.     As stated by the DOL: ERISA “requires plan fiduciaries, when selecting and

   monitoring service providers and plan investments, to act prudently and solely in the interest of

   the plan’s participants and beneficiaries. Responsible plan fiduciaries also must ensure that

   arrangements with their service providers are ‘reasonable’ and that only ‘reasonable’

   compensation is paid for services…” DOL 408(b)(2) Regulation Fact Sheet.




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            66.   “The duty to pay only reasonable fees for plan services and to act solely in the best

   interest of participants has been a key tenet of ERISA since its passage.” “Best Practices for Plan

   Fiduciaries,” at 36, published by Vanguard, 2019.5

            67.   Here, Defendants could not have engaged in a prudent process as it relates to

   evaluating investment management fees.

            68.   Three of the Plan’s funds, having more than $120 million dollars in assets under

   management in 2020 will be analyzed below as an example of imprudently selected funds. These

   funds will be compared to the categories of funds developed by BrightScope, a leading plan

   retirement industry analyst working through its related analytical arm the Investment Company

   Institute (“ICI”), in its 2018 study comparing the fees charged by hundreds of retirement plans 6.

   Although two of the funds analyzed here are pooled separate accounts, these funds do correlate to

   the broad categories outlined by the 2018 Study and thus the comparison is appropriate. The

   expense ratio for one of these funds during the Class Period was 148% above the ICI Median (in

   the case of Voya Small Cap Opportunities) and in another case the expense ratio was 80% above

   the ICI Median (in the case of T. Rowe Price Large-Cap Growth Trust CL B) in the same category.

   The high cost of the Plan’s funds is also evident when comparing the Plan’s funds to the average

   fees of funds in similarly-sized plans. These excessive expense ratios are detailed in the charts

   below:

                                          ICI Median Chart
                                                      2021 Exp           Investment        ICI
                     Current Fund
                                                        Ratio               Style         Median
                                                                          Domestic
       T. Rowe Price Large-Cap Growth Trust CL B           0.56 %                          0.31%
                                                                           Equity

   5
    Available at https://institutional.vanguard.com/iam/pdf/FBPBK.pdf?cbdForceDomain=false.
   6
    See BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2018 at
   55 (July 2021) (hereafter, “ICI Study”) available at https://www.ici.org/system/files/2021-
   07/21_ppr_dcplan_profile_401k.pdf.


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                                           ICI Median Chart
                                                       2021 Exp        Investment        ICI
                     Current Fund
                                                         Ratio            Style         Median
                                                                        Domestic
             Voya Small Cap Opportunities                  0.77 %                        0.31%
                                                                         Equity
                                                                        Domestic
                Dodge & Cox Stock Fund                     0.52 %                        0.31%
                                                                         Equity

          69.     The high cost of the Plan’s funds is even more stark when comparing the Plan’s

   funds to the average fees of funds in similarly-sized plans:

                                          ICI Average Chart
                                                      2021 Exp       Investment          ICI
                     Current Fund
                                                        Ratio           Style          Average
                                                                       Domestic
      T. Rowe Price Large-Cap Growth Trus CL B            0.56 %                        0.37%
                                                                        Equity
                                                                       Domestic
             Voya Small Cap Opportunities                 0.77 %                        0.37%
                                                                        Equity
                                                                       Domestic
                Dodge & Cox Stock Fund                    0.52 %                        0.37%
                                                                        Equity

          70.     It is unlikely the Defendants engaged in a prudent process from 2016 through 2020

   since the Plan contained at least three funds that had excessive expense ratios when compared to

   their peers from 2016 to 2020.

          71.     Further, Defendants’ failure to obtain reasonably-priced and properly performing

   investments from 2016 to 2020 is circumstantial evidence of their imprudent process to review

   and control the Plan’s costs and is indicative of Defendants’ breaches of their fiduciary duties,

   relating to their overall decision-making, which resulted in the payment of excessive

   recordkeeping and administration fees that wasted the assets of the Plan and the assets of

   participants because of unnecessary costs.




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          (B)      The Plan’s Recordkeeping and Administrative Costs Were Excessive
                   During The Class Period

          72.      A clear indication of Defendants’ imprudent fee monitoring process was the

   excessive recordkeeping and administrative fees Plan participants were required to pay during the

   Class Period.

          73.      The term “recordkeeping” is a catchall term for the suite of administrative services

   typically provided to a defined contribution plan by the plan’s “recordkeeper.” Recordkeeping

   and administrative services fees are one and the same and the terms are used synonymously herein.

          74.      There are two types of essential recordkeeping services provided by all national

   recordkeepers for large plans with substantial bargaining power (like the Plan). First, an overall

   suite of recordkeeping services is provided to large plans as part of a “bundled” fee for a buffet

   style level of service (meaning that the services are provided, in retirement industry parlance, on

   an “all-you-can-eat” basis), including, but not limited to, the following services:

                A. Recordkeeping;

                B. Transaction processing (which includes the technology to process purchases and

                   sales of participants’ assets, as well as providing the participants access to

                   investment options selected by the plan sponsor);

                C. Administrative services related to converting a plan from one recordkeeper to

                   another;

                D. Participant communications (including employee meetings, call centers/phone

                   support, voice response systems, web account access, and the preparation of other

                   materials distributed to participants, e.g., summary plan descriptions);

                E. Maintenance of an employer stock fund (if needed);




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                F. Plan document services, which include updates to standard plan documents to

                   ensure compliance with new regulatory and legal requirements;

                G. Plan consulting services, including assistance in selecting the investment lineup

                   offered to participants;

                H. Accounting and audit services, including the preparation of annual reports, e.g.,

                   Form 5500s7 (excluding the separate fee charged by an independent third-party

                   auditor);

                I. Compliance support, including assistance interpreting plan provisions and ensuring

                   the operation of the plan is in compliance with legal requirements and the

                   provisions of the plan (excluding separate legal services provided by a third-party

                   law firm); and

                J. Compliance testing to ensure the plan complies with U.S. Internal Revenue Service

                   nondiscrimination rules.

          75.      This suite of essential recordkeeping services can be referred to as “Bundled”

   services. These services are offered by all recordkeepers for one price (typically at a per capita

   price), regardless of the services chosen or utilized by the plan. The services chosen by a large

   plan do not affect the amount charged by recordkeepers for such basic and fungible services.

          76.      The second type of essential recordkeeping services, hereafter referred to as “A La

   Carte” services, provided by all national recordkeepers, often has separate, additional fees based

   on the conduct of individual participants and the usage of the services by individual participants.

   These fees are distinct from the bundled arrangement described above to ensure that one participant



   7
   The Form 5500 is the annual report that 401(k) plans are required to file with the DOL and U.S.
   Department of Treasury pursuant to the reporting requirements of ERISA.


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   is not forced to help another cover the cost of, for example, taking a loan from their plan account

   balance. These A La Carte services typically include, but are not limited to, the following:

                A. Loan processing;

                B. Brokerage services/account maintenance (if offered by the plan);

                C. Distribution services; and

                D. Processing of qualified domestic relations orders.

          77.      All national recordkeepers have the capability to provide all of the aforementioned

   recordkeeping services at very little cost to all large defined contribution plans, including those

   much smaller than the Plan. In fact, several of the services, such as managed account services,

   self-directed brokerage, Qualified Domestic Relations Order processing, and loan processing are

   often a profit center for recordkeepers.

          78.      The Recordkeeper, Voya Institutional Plan Services (“Voya”), identified as the

   Recordkeeper on the Plan’s 5500 filings, provided services in line with the routine bundled and A

   La Carte service categories described above8. The RKA services performed each year during the

   Class Period were similar so we can look at the Plan’s 2020 Form 5500, Schedule C as an example.

   The Schedule C lists the following codes indicating the type of general services performed by the

   recordkeeper: 37, 38, 49 and 64. Below are the typical codes associated with recordkeeping

   including those reported by DaVita:



   8
     A review of the Plan’s agreement with Voya reveals this to be the case. See the Administrative
   Services Agreement Between Voya Institutional Plan Services, LLC and DaVita Healthcare
   Partners, Inc. dated April 1, 2015 and amendments thereto (“Voya Agreement”). While the Voya
   Agreement claims to set the price at $37 per participant, it appears that the $37 per participant is a
   target price for these routine services since the final price paid by Plan participants were
   astronomical as will be discussed in more detail below. There are no services identified in the
   agreement that could be outside routine recordkeeping services provided by all major
   recordkeepers in the marketplace. Even if the final charge was $37 per participant, which it clearly
   was not, this charge itself would be excessive as discussed below.


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                37 – Participant loan processing

                38 – Participant communication

                49 – Other services

                64 – Recordkeeping fees

          79.     The cost of providing RKA services often depends on the number of participants in

   a plan. Plans with large numbers of participants can take advantage of economies of scale by

   negotiating a lower per-participant recordkeeping fee. Because RKA expenses are driven by the

   number of participants in a plan, the vast majority of plans are charged on a per-participant basis.

          80.     RKA expenses can either be paid directly from plan assets, or indirectly by the

   plan’s investments in a practice known as revenue sharing (or a combination of both or by a plan

   sponsor). Revenue sharing payments are payments made by investments within the plan, typically

   mutual funds, to the plan’s recordkeeper or to the plan directly, to compensate for recordkeeping

   and trustee services that the mutual fund company otherwise would have to provide.

          81.     Although utilizing a revenue sharing approach is not per se imprudent, unchecked,

   it is devastating for Plan participants (e.g., see allegations infra). “At worst, revenue sharing is a

   way to hide fees. Nobody sees the money change hands, and very few understand what the total

   investment expense pays for. It’s a way to milk large sums of money out of large plans by charging

   a percentage-based fee that never goes down (when plans are ignored or taken advantage of). In

   some cases, employers and employees believe the plan is ‘free’ when it is in fact expensive.” Justin

   Pritchard, “Revenue Sharing and Invisible Fees” available at http://www.cccandc.com/p/revenue-

   sharing-and-invisible-fees (last visited January 17, 2021).

          82.     Because recordkeeping costs are not affected by account size, prudent fiduciaries

   of defined contribution plans negotiate recordkeeping fees as a fixed dollar amount rather than as




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   a percentage of assets. See Mercer Best Practices at 3. Otherwise, as plan assets grow, the

   recordkeeping compensation increases without any change in the recordkeeping services, leading

   to unreasonable fees.

           83.     In order to make an informed evaluation as to whether a recordkeeper or other

   service provider is receiving no more than a reasonable fee for the services provided to a plan, a

   prudent fiduciary must identify all fees, including direct compensation and revenue sharing being

   paid to the plan’s recordkeeper. To the extent that a plan’s investments pay asset-based revenue

   sharing to the recordkeeper, prudent fiduciaries monitor the amount of the payments to ensure that

   the recordkeeper’s total compensation from all sources does not exceed reasonable levels, and

   require that any revenue sharing payments that exceed a reasonable level be returned to the plan

   and its participants.

           84.     In this matter, using a combination of a flat recordkeeping target charge with

   revenue sharing in the form of a fee charged against all assets in the Plan used to meet the total

   income required by the Recordkeeper for routine services is a worst-case scenario for the Plan’s

   participants because it saddled Plan participants with above-market recordkeeping fees. The asset

   based fee, as discussed above, ranged from 11 basis points in 2020 to 14 basis points in 2018.

           85.     Further, a plan’s fiduciaries must remain informed about overall trends in the

   marketplace regarding the fees being paid by other plans, as well as the recordkeeping rates that

   are available by conducting a Request for Proposal (“RFP”) in a prudent manner to determine if

   recordkeeping and administrative expenses appear high in relation to the general marketplace, and

   specifically, of like-situated plans. More specifically, an RFP should happen every three to five

   years. George v. Kraft Foods Glob., Inc., 641 F.3d 786, 800 (7th Cir. 2011); Kruger v. Novant

   Health, Inc., 131 F. Supp. 3d 470, 479 (M.D.N.C. 2015). Upon information and belief, the Plan




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   did not conduct an RFP during the Class Period, meaning if an RFP was conducted prior to the

   start of the Class Period, another a RFP has not been conducted for at least six years. Any other

   method of determining the reasonableness of Plan fees, including fee-benchmarking exercises,

   falls short of best practices. See NEPC 2019 Defined Contribution Progress Report at 10 (“Best

   Practice is to compare fees and services through a record keeping vendor search Request for

   Proposal process). 9

             86.   The fact that the Plan has stayed with the same primary recordkeeper, namely Voya

   throughout the Class Period and paid the relatively same amount in recordkeeping fees from 2016

   to the present, there is little to suggest that Defendants conducted an appropriate RFP at reasonable

   intervals – or certainly at any time prior to 2016 through the present - to determine whether the

   Plan could obtain better recordkeeping and administrative fee pricing from other service providers

   given that the market for recordkeeping is highly competitive, with many vendors equally capable

   of providing a high-level service.

             87.   That is because “[d]eliberative processes can vary in quality or can be followed in

   bad faith [and] [i]n assessing whether a fiduciary fulfilled her duty of prudence, we ask ‘whether

   a fiduciary employed the appropriate methods to investigate and determine the merits of a

   particular investment,’ not merely whether there were any methods whatsoever.” Sacerdote, 9 F.4th

   at 111.

             88.   Looking at all the years during the Class Period, it’s clear these unreasonably high

   recordkeeping costs continued throughout the Class Period. As demonstrated in the chart below,

   the Plan’s per participant administrative and recordkeeping fees were significantly above market

   rates when benchmarked against similar plans.


   9
       Available at https://www.nepc.com/insights/2019-dc-plan-and-fee-survey.


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                                                    Indirect                           Compensation
                 Participants   Direct Payments                         Total
                                                   Payments10                          per Participant
        2016         56707        $1,570,477       $1,257,135        $2,827,612            $49.86
        2017         61109        $2,276,645        $666,199         $2,942,844            $48.16
        2018         65189        $5,079,213        $1,187,892       $6,267,105             $96.14
        2019         66162        $3,365,876                         $3,377,022             $51.04
                                                      $11,146
        2020         67104        $3,386,630          $17,848        $3,404,478             $50.73

               89.    By way of comparison, we can look at what other plans are paying for

   recordkeeping and administrative costs.

               90.    The recordkeeper throughout the Class Period was Voya. At all times during the

   Class Period, the Plan had at least 56,000 participants and over $1.3 billion dollars in assets under

   management. As of 2020, the Plan had over 67,000 participants and over $2.6 billion dollars in

   assets under management making it eligible for some of the lowest fees on the market.

               91.    Let’s start with what another major recordkeeper in the marketplace, Fidelity,

   would pay if it were in Defendants’ shoes. In a recent lawsuit where Fidelity’s multi-billion dollar

   plan with over 50,000 (fifty thousand) participants like the Plan was sued, the “parties [] stipulated

   that if Fidelity were a third party negotiating this fee structure at arms-length, the value of services

   would range from $14-$21 per person per year over the class period, and that the recordkeeping

   services provided by Fidelity to this Plan are not more valuable than those received by other plans

   of over $1,000,000,000 in assets where Fidelity is the recordkeeper.” Moitoso et al. v. FMR, et

   al., 451 F.Supp.3d 189, 214 (D.Mass. 2020).


   10
      Indirect costs are taken directly from those amounts reported on the Form 5500s. For example
   in 2018, Voya, the recordkeeper was reported to have received $5,079,213 in direct payments,
   $1,187,892 in indirect payments which equates to a more than $96 per participant cost. On top of
   this, some of the funds in the Plan payed revenue sharing above the asset based charges and these
   amounts were added to the total indirect payments. In 2019, this amount was $11,146 for example.
   Since there may be additional amounts of indirect costs taken from additional revenue sharing,
   these amounts are likely conservative.


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          92.     Specifically, Fidelity stipulated as follows:

          The value of the recordkeeping services that Fidelity provided to the Plan in 2014 was $21
          per participant; the value of the recordkeeping services that Fidelity provided to the Plan
          in 2015 and 2016 was $17 per participant, per year; and the value of the recordkeeping
          services that Fidelity has provided to the Plan since January 1, 2017 is $14 per
          participant, per year. Had the Plan been a third-party plan that negotiated a fixed fee for
          recordkeeping services at arm’s length with Fidelity, it could have obtained recordkeeping
          services for these amounts during these periods. The Plan did not receive any broader or
          more valuable recordkeeping services from Fidelity than the services received by any
          other Fidelity-recordkept plan with at least $1 billion in assets during the Class Period
          (November 18, 2014 to the present).

   Moitoso, No. 1:18-cv-12122-WGY, ECF 138-67, ¶ 2 (emphasis added).

          93.     The Plan’s demographics matches favorably with the Fidelity plan’s demographics

   demonstrating the Plan fiduciaries could have negotiated for recordkeeping and administration

   fees as low as $14 and up to $21 per participant in recordkeeping and administration fees.

          94.     Further, looking at recordkeeping costs for plans of a similar size in 2018, as an

   exemplar year indicative of the other years of the Class Period, shows that the Plan was paying

   higher recordkeeping fees than its peers. The chart below analyzes a few plans having more than

   17,000 participants and more than $300 million dollars in assets under management:

                                                                              R&A
                                                                             Costs on
                                        Number of         Assets Under         Per-       Record-
                 Plan Name
                                        Participants      Management         Participa    keeper
                                                                                nt
                                                                              Basis11
          Fedex Office and Print
           Services, Inc. 401(k)           17,652         $770,290,165          $30       Vanguard
         Retirement Savings Plan

   11
      In order to keep this comparator analysis consistent with DaVita’s analysis above, RKA costs
   in the chart are derived, in the same manner as for DaVita, from Schedule C of the Form 5500s
   and reflect fees paid to service providers with service codes that signify recordkeeping, codes such
   as 37, 38, 49, and 64 are some examples, but are not limited to, these codes. See Instructions for
   Form       5500       (2020)       at    pg.      27      (defining      each     service     code),
   https://www.dol.gov/sites/dolgov/files/EBSA/employers-and-advisers/plan-administration-and-
   compliance/reporting-and-filing/form-5500/2020-instructions.pdf at 27. In addition, the


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                                                                               R&A
                                                                              Costs on
                                        Number of            Assets Under       Per-        Record-
                  Plan Name
                                        Participants         Management       Participa     keeper
                                                                                 nt
                                                                               Basis11
       Pilgrim’s Pride Retirement                                                            Great-
                                           18,356            $321,945,688        $26
              Savings Plan                                                                   West
                                                                                             Great-
         JBS 401(k) Savings Plan           19,420            $374,330,167        $25
                                                                                             West
       Sanofi U.S. Group Savings
                                           24,097         $5,522,720,874         $23        T.Rowe
                  Plan
        Danaher Corporation &
                                           35,757         $4,565,702,706         $28         Fidelity
       Subsidiaries Savings Plan
                                                                                             Great-
             Deseret 401(k) Plan           34,357         $3,381,868,127         $25
                                                                                             West
      Publicis Benefits Connection
                                           42,316         $2,547,763,175         $28         Fidelity
               401K Plan
           Kaiser Permanente
       Supplemental Savings and            47,358         $3,103,524321          $27       Vanguard
            Retirement Plan


       95.         These figures remain consistent over the span of the Class Period. From 2013 to

   2019, there were plans ranging in size from 3,000 participants to over 18,000 participants that paid

   less than the Plan. The below chart reflects fees paid by these plans for recordkeeping and

   administration costs. As noted in footnote 11, the plans selected here used funds that included

   either little or no revenue sharing thus making any indirect compensation inconsequential.

   Because of economies of scale, the Plan’s fiduciaries should have been able to negotiate per

   participant RKA costs less than the plans below paid:

                                                                               Part
    Year              Plan Name                     Assets        Prtcpnts              Recordkeeper
                                                                               Fee
                                                                                         Mercer HR
    2013         Wrigley Savings Plan           $446 million        3,146     $26.69
                                                                                        Services, LLC

   comparator plans chosen are plans that have little to no revenue sharing and it’s for this reason that
   revenue sharing from a plan’s funds are not added to per participant amounts.



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                                                                             Part
    Year             Plan Name                    Assets        Prtcpnts              Recordkeeper
                                                                             Fee
                                                                                       Mercer HR
    2014         Wrigley Savings Plan          $449 million       3,132     $29.21
                                                                                      Services, LLC
              HealthFirst Profit Sharing
    2014                                       $123 million       3,732     $32.74    Verisight, Inc.
                       401(k)
            Bausch Health Companies Inc.
    2018                                      $904,717,349        8,902       $36         Fidelity
              Retirement Savings Plan
            Children’s Medical Center of
    2018    Dallas Employee Savings Plan      $349,335,673        9,356       $36         Fidelity
                       403(b)
    2018      Ralph Lauren 401(k) Plan        $552,586,935        9,389       $31         T.Rowe
             Vibra Healthcare Retirement
    2018                                      $107,652,510        9,750       $28       Great-West
                        Plan
    2018      Republic National 401(k)        $671,989,839        9,922       $33       Great-West
                  Southern California
    2018      Permanente Medical Group        $773,795,904       10,770       $31        Vanguard
             Tax Savings Retirement Plan
                Pacific Architects and
                                              $435,391,716
    2019        Engineers, LLC 401(k)                                         $23         Fidelity
                                                                 14,698
                     Savings Plan
               First American Financial
    2019     Corporation 401(K) Savings       $1,791,281,396     15,246       $35         Fidelity
                         Plan

           96.    Thus, the Plan, with over 65,000 participants and over $1.7 billion dollars in assets

   in 2018, should have been able to negotiate recordkeeping costs ranging from $14 to the low $30

   range from the beginning of the Class Period to the present. Anything above that would be an

   outlier especially later in the Class Period when RKA costs per participant should have been at the

   cheapest.12

           97.    In order to make an informed evaluation as to whether a recordkeeper or other

   service provider is receiving no more than a reasonable fee for the services provided to a plan, a

   prudent fiduciary must identify all fees, including direct compensation and revenue sharing being


   12
     Gordon v. Mass Mutual, Case 13-30184, Doc. 107-2 at ¶10.4 (D.Mass. June 15, 2016) (401(k)
   fee settlement committing the Plan to pay not more than $35 per participant for recordkeeping).


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   paid to the plan’s recordkeeper. To the extent that a plan’s investments pay asset-based revenue

   sharing to the recordkeeper, prudent fiduciaries monitor the amount of the payments to ensure that

   the recordkeeper’s total compensation from all sources does not exceed reasonable levels, and

   require that any revenue sharing payments that exceed a reasonable level be returned to the plan

   and its participants.

           98.      A plan’s fiduciaries must remain informed about overall trends in the marketplace

   regarding the fees being paid by other plans, as well as the recordkeeping rates that are available.

   This will generally include conducting an RFP process at reasonable intervals as discussed above.

           99.      Given the size of the Plan’s assets during the Class Period and total number of

   participants, in addition to the general trend towards lower recordkeeping expenses in the

   marketplace as a whole, the Plan could have obtained recordkeeping services that were comparable

   to or superior to the typical services provided by the Plan’s recordkeeper at a lower cost.

        (C)      The Plan’s Total Plan Costs Were Much Higher than Those of Its Peers

           100.     “In order to better understand the impact of fees,” the ICI Study, referenced above,

   not only analyzes median investment ratios but it also develops “a total plan cost measure that

   includes all fees on the audited Form 5500 reports as well as fees paid through investment expense

   ratios.”13

           101.     Costs are of course important because “[t]he lower your costs, the greater your

   share of an investment’s return.” Vanguard’s Principles for Investing Success, at 17.14




   13
     See BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2018 at
   55 (July 2021) (hereafter, “ICI Study”) available at https://www.ici.org/system/files/2021-
   07/21_ppr_dcplan_profile_401k.pdf
   14
     Available at https://about.vanguard.com/what-sets-vanguard-apart/principles-for-investing-
   success/


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           102.    The ICI Study calculates the average total plan costs from hundreds of 401(k) Plans

   ranging in size from the smallest plans having less than 1 million dollars in assets all the way up

   the nation’s largest plans with assets under management of more than 1 billion dollars. Looking

   at plans that have over 1 billion dollars, the ICI determined that the average asset weighted total

   plan cost or TPC for 401(k) Plans with over 1 billion dollars in assets under management is .24%

   of total plan assets.

           103.    Here, another indication that the Plan was poorly run and lacked a prudent process

   for selecting and monitoring the Plan’s investments is that, in 2019, it had a TPC of more than

   .53%, or, in other words, more than 120% higher than the average. In fact, a TPC of .53% leaves

   the Plan with a higher TPC than at least 90% of the plans surveyed in the ICI Study. As detailed

   in the ICI Study, plans with a TPC of over .45% ranked in the lower 10% of all plans surveyed.

   ICI Study at 50. Had the Plan’s fiduciaries reduced the Plan’s recordkeeping costs, as discussed

   above, the Plan’s TPC would have been reduced. However, TPC also includes the amount of

   investment management fees associated with any given plan. Here, in 2019, the Plan’s total

   investment management expense were an astronomical .28% which, if considered alone, would

   put the Plan above the median of .24%. The Plan’s fiduciaries should have selected funds,

   throughout the Class Period15, with lower investment management fees to bring it in line with ICI

   Study’s .24%.

                                    FIRST CLAIM FOR RELIEF
                               Breaches of Fiduciary Duty of Prudence
                                  (Asserted against the Committee)



   15
     At the end of 2020, the Plan’s fiduciaries apparently finally recognized that the Plan’s investment
   management fees were too high. This change was too little to late as the damage to the Plan had
   already been baked in. This is a change that could have and should have been made by no later
   than the beginning of the Class Period. The total investment management expense went from .28%
   in 2019 and was lowered to .13% by the end of 2020.


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          104.    Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

   Complaint as if fully set forth herein.

          105.    At all relevant times, the Committee and its members during the Class Period

   (“Prudence Defendants”) were fiduciaries of the Plan within the meaning of ERISA § 3(21)(A),

   29 U.S.C. § 1002(21)(A), in that they exercised discretionary authority or control over the

   administration and/or management of the Plan or disposition of the Plan’s assets.

          106.    As fiduciaries of the Plan, these Defendants were subject to the fiduciary duties

   imposed by ERISA § 404(a), 29 U.S.C. § 1104(a). These fiduciary duties included managing the

   assets of the Plan for the sole and exclusive benefit of the Plan’s participants and beneficiaries,

   and acting with the care, skill, diligence, and prudence under the circumstances that a prudent

   person acting in a like capacity and familiar with such matters would use in the conduct of an

   enterprise of like character and with like aims.

          107.    The Prudence Defendants breached these fiduciary duties in multiple respects as

   discussed throughout this Complaint such as failing to make decisions regarding the Plan’s

   recordkeeping and administration fees.

          108.    The failure to engage in an appropriate and prudent process resulted in saddling the

   Plan and its participants with excessive Plan recordkeeping and administration costs.

          109.    As a direct and proximate result of the breaches of fiduciary duties alleged herein,

   the Plan suffered millions of dollars of losses due to excessive costs. Had Defendants complied

   with their fiduciary obligations, the Plan would not have suffered these losses, and the Plan’s

   participants would have had more money available to them for their retirement.

          110.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Prudence Defendants are

   liable to restore to the Plan all losses caused by their breaches of fiduciary duties, and also must




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   restore any profits resulting from such breaches. In addition, Plaintiffs are entitled to equitable

   relief and other appropriate relief for Defendants’ breaches as set forth in their Prayer for Relief.

          111.    The Prudence Defendants knowingly participated in each breach of the other

   Defendants, knowing that such acts were a breach, enabled the other Defendants to commit

   breaches by failing to lawfully discharge such Defendants’ own duties, and knew of the breaches

   by the other Defendants and failed to make any reasonable and timely effort under the

   circumstances to remedy the breaches. Accordingly, each Defendant is also liable for the breaches

   of its co-fiduciaries under 29 U.S.C. § 1105(a).

                                  SECOND CLAIM FOR RELIEF
                          Failure to Adequately Monitor Other Fiduciaries
                        (Asserted against DaVita and the Board Defendants)

          112.    Plaintiffs re-allege and incorporate herein by reference all prior allegations in this

   Complaint as if fully set forth herein.

          113.    DaVita and the Board Defendants (the “Monitoring Defendants”) had the authority

   to appoint and remove members of the Committee, and the duty to monitor the Committee and

   were aware that the Committee Defendants had critical responsibilities as fiduciaries of the Plan.

          114.    In light of this authority, the Monitoring Defendants had a duty to monitor the

   Committee Defendants to ensure that the Committee Defendants were adequately performing their

   fiduciary obligations, and to take prompt and effective action to protect the Plan in the event that

   the Committee Defendants were not fulfilling those duties.

          115.    The Monitoring Defendants also had a duty to ensure that the Committee

   Defendants possessed the needed qualifications and experience to carry out their duties; had

   adequate financial resources and information; maintained adequate records of the information on




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   which they based their decisions and analysis with respect to the Plan’s investments; and reported

   regularly to the Monitoring Defendants.

           116.         The Monitoring Defendants breached their fiduciary monitoring duties by, among

   other things:

                  (a)       Failing to monitor and evaluate the performance of the Committee Defendants

                            or have a system in place for doing so, standing idly by as the Plan suffered

                            significant losses as a result of the Committee Defendants’ imprudent actions

                            and omissions;

                  (b)       failing to monitor the processes by which Plan investments were evaluated;

                            and

                  (c)       failing to remove Committee members whose performance was inadequate in

                            that they continued to maintain imprudent, excessively costly, and poorly

                            performing investments within the Plan and pay exorbitant fees for the Plan’s

                            recordkeeping and administration, all to the detriment of the Plan and Plan

                            participants’ retirement savings.

           117.         As a consequence of the foregoing breaches of the duty to monitor, the Plan

   suffered millions of dollars of losses. Had the Monitoring Defendants complied with their

   fiduciary obligations, the Plan would not have suffered these losses, and Plan participants would

   have had more money available to them for their retirement.

           118.         Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), the Monitoring Defendants are

   liable to restore to the Plan all losses caused by their failure to adequately monitor the Committee

   Defendants. In addition, Plaintiffs are entitled to equitable relief and other appropriate relief as set

   forth in their Prayer for Relief.




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                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs pray that judgment be entered against Defendants on all claims

   and requests that the Court award the following relief:

                 A.      A determination that this action may proceed as a class action

          under Rule 23(b)(1), or in the alternative, Rule 23(b)(2) of the Federal Rules of

          Civil Procedure;

                 B.      Designation of Plaintiffs as Class Representatives and designation

          of Plaintiff’s counsel as Class Counsel;

                 C.      A Declaration that the Defendants, and each of them, have

          breached their fiduciary duties under ERISA;

                 D.      An Order compelling the Defendants to make good to the Plan all

          losses to the Plan resulting from Defendants’ breaches of their fiduciary duties,

          including losses to the Plan resulting from imprudent investment of the Plan’s

          assets, and to restore to the Plan all profits the Defendants made through use of

          the Plan’s assets, and to restore to the Plan all profits which the participants would

          have made if the Defendants had fulfilled their fiduciary obligations;

                 E.      An order requiring the Company Defendants to disgorge all profits

          received from, or in respect of, the Plan, and/or equitable relief pursuant to 29

          U.S.C. § 1132(a)(3) in the form of an accounting for profits, imposition of a

          constructive trust, or a surcharge against the Company Defendant as necessary to

          effectuate said relief, and to prevent the Company Defendant’s unjust enrichment;




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                F.       Actual damages in the amount of any losses the Plan suffered, to

         be allocated among the participants’ individual accounts in proportion to the

         accounts’ losses;

                G.       An order enjoining Defendants from any further violations of their

         ERISA fiduciary responsibilities, obligations, and duties;

                H.       Other equitable relief to redress Defendants’ illegal practices and

         to enforce the provisions of ERISA as may be appropriate, including appointment

         of an independent fiduciary or fiduciaries to run the Plan and removal of Plan’s

         fiduciaries deemed to have breached their fiduciary duties;

                I.       An award of pre-judgment interest;

                J.       An award of costs pursuant to 29 U.S.C. § 1132(g);

                K.       An award of attorneys’ fees pursuant to 29 U.S.C. § 1132(g) and

         the common fund doctrine; and

                L.       Such other and further relief as the Court deems equitable and just.


   Dated: July 8, 2022                          CAPOZZI ADLER, P.C.

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 8, 2022, a true and correct copy of Plaintiffs’ First Amended

   Complaint was filed with the Court utilizing its ECF system, which will send notice of such filing

   to all counsel of record.


                                                  By: /s/ Mark K. Gyandoh
                                                      Mark K. Gyandoh, Esq.
